                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, )
                           )                    C/A: 1:22-cr-00015-APM-1
vs.                        )
                           )
ELMER STEWART RHODES, III, )
    Defendant.             )
_________________________)

             MOTION TO GRANT APPELLATE COUNSEL
        ACCESS TO TRANSCRIPT OF AUGUST 23, 2022 HEARING

       Undersigned counsel respectfully asks this Court to enter an order granting

her access to the transcript of a hearing dated August 23, 2022 that was transcribed

by court reporter William Zaremba but which counsel is informed is currently under

seal. Counsel has been appointed by the Court to represent Mr. Rhodes in his direct

appeal and believes access to this transcript is necessary to perform a thorough job of

searching for and developing potentially meritorious legal claims. Counsel will not

release the transcript to any other parties and will, if necessary, file the transcript in

the Sealed portion of the Joint Appendix if it is relevant to any of the claims raised in

the brief.




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                         Respectfully submitted,

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November 29, 2023.




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